Case 3:10-cv-03561-WHA Document 1608-12 Filed 04/06/16 Page 1 of 3




               Exhibit 12
The Apache Software Foundation Blog                                                                                                                       4/17/2012 8:50 PM
                                      Case 3:10-cv-03561-WHA Document 1608-12 Filed 04/06/16 Page 2 of 3
                                                                                                                                                UNITED STATES DISTRICT COURT
                                                                                                                                               NORTHERN DISTRICT OF CALIFORNIA

                                       Foundation        Projects        People        Get Involved         Support Apache   Planet Apache     TRIAL EXHIBIT 1045
                                                                                                                                                     CASE NO. 10-03561 WHA
                                                                                                                                                DATE ENTERED

                                                                                                                                                BY
                                                                                                                                                          DEPUTY CLERK




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           THURSDAY DEC 09, 2010
                                                                                                                                       26 27 28 29 30 31
           The ASF Resigns From the JCP Executive Committee

           The Apache Software Foundation has resigned its seat on the Java SE/EE Executive Committee. Apache has
                                                                                                                                                     Today
           served on the EC for the past 10 years, winning the JCP "Member of the Year" award 4 times, and recently was               Search
           ratified for another term with support from 95% of the voting community. Further, the project communities of the
           ASF, home to Apache Tomcat, Ant, Xerces, Geronimo, Velocity and nearly a 100 mainstay java components
           have implemented countless JSRs and serve on and contribute to many of the JCPs technical expert groups.
                                                                                                                                      Hot Blogs (today's hits)
           We'd like to provide some explanation to the community as to why we're taking this significant step.
                                                                                                                                             foundation | 259
           The recent Java SE 7 vote was the last chance for the JCP EC to demonstrate that the EC has any intent to
           defend the JCP as an open specification process, and demonstrate that the letter and spirit of the law                            flex | 76
           matter. To sum up the issues at stake in the vote, we believe that while continuing to fail to uphold their                       OOo | 63
           responsibilities under the JSPA, Oracle provided the EC with a Java SE 7 specification request and license that                   infra | 57
           are self-contradictory, severely restrict distribution of independent implementations of the spec, and most                       openejb | 47
           importantly, prohibit the distribution of independent open source implementations of the spec. Oracle has                         couchdb | 37
           refused to answer any reasonable and responsible questions from the EC regarding these problems.
                                                                                                                                             click | 35


https://blogs.apache.org/foundation/date/20101209                                                                                                                            1 of 3
   Trial Exhibit 1045, Page 1 of 3
The Apache Software Foundation Blog                                                                                                               4/17/2012 8:50 PM
                                       Case 3:10-cv-03561-WHA Document 1608-12 Filed 04/06/16 Page 3 of 3
           In the phrase "fail to uphold their responsibilities under the JSPA", we are referring to Oracle's refusal to              sqoop | 33
           provide the ASF's Harmony project with a TCK license for Java SE that complies with Oracle's obligations                   kato | 32
           under the JSPA as well as public promises made to the Java community by officers of Sun Microsystems                       logging | 30
           (recently acquired by Oracle.) This breach of the JSPA was begun by Sun Microsystems in August of 2006
           and is a policy that Oracle explicitly continues today. For more information on this dispute, see our open letter
                                                                                                                                      tomcat | 27
           to Sun Microsystems.                                                                                                       owb | 20
                                                                                                                                      hbase | 19
           This vote was the only real power the Executive Committee has as the governing body of the Java                            geronimo | 18
           specification ecosystem, and as we indicated previously we were looking for the EC to protect the rights of                lucenenet | 17
           implementers to the degree they are able, as well as preserve the integrity of the JCP licensing structure by              tiles | 16
           ensuring that JCP specifications are able to be freely implemented and distributed. We don't believe this is an
                                                                                                                                      ofbiz | 15
           unreasonable position - it should be noted that the majority of the EC members, including Oracle, have publicly
           stated that restrictions on distribution such as those found in the Java SE 7 license have no place in the JCP -           httpd | 12
           and two distinguished individual members of the EC, Doug Lea and Tim Peierls, both have resigned in protest                comdev | 8
           over the same issue.                                                                                                       turbine | 8

           By approving Java SE 7, the EC has failed on both counts : the members of the EC refused to stand up for the          Tag Cloud
           rights of implementers, and by accepting Oracle's TCK license terms for Java SE 7, they let the integrity of the
           JCP's licensing structure be broken.                                                                                  2010 apache apachecon
                                                                                                                                 asf atlanta board
           The Apache Software Foundation concludes that that JCP is not an open specification process - that Java               cassandra cloud code
           specifications are proprietary technology that must be licensed directly from the spec lead under whatever            community computing
           terms the spec lead chooses; that the commercial concerns of a single entity, Oracle, will continue to seriously      database foundation
           interfere with and bias the transparent governance of the ecosystem; that it is impossible to distribute
                                                                                                                                 hadoop incubator java
           independent implementations of JSRs under open source licenses such that users are protected from IP
           litigation by expert group members or the spec lead; and finally, the EC is unwilling or unable to assert the basic   milestone new open
           power of their role in the JCP governance process.                                                                    opensource oracle pivot
                                                                                                                                 project release server
           In short, the EC and the Java Community Process are neither.                                                          software source
                                                                                                                                 sponsors tlp top-level
           To that end, our representative has informed the JCP's Program Management Office of our resignation,
           effective immediately. As such, the ASF is removing all official representatives from any and all JSRs. In            Categories
           addition, we will refuse any renewal of our JCP membership and, of course, our EC position.
                                                                                                                                      All   General
                                                                                                                                      Projects
           ###                                                                                                                        Milestones
                                                                                                                                      ApacheCon
           Posted at 06:04PM Dec 09, 2010 by Sally in General | Comments[107] |
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https://blogs.apache.org/foundation/date/20101209                                                                                                            2 of 3
   Trial Exhibit 1045, Page 2 of 3
